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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


STATE OF NEW YORK, et al.,

       Plaintiffs,

  v.
                                                            Case No. 25-cv-11221-WGY
DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

       Defendants.




                      ADMINISTRATIVE RECORD CERTIFICATION

  1. I am the Principal Deputy Director of the Bureau of Ocean Energy Management (BOEM)

       within the Department of the Interior (DOI). I have served as Principal Deputy Director

       since May 18, 2025. Prior to my current role, I served as Senior Advisor to the Secretary

       from March 24, 2025, to May 17, 2025.

  2. In both of those roles, I have coordinated with DOI leadership and career staff regarding

       DOI’s implementation of the January 20, 2025, Presidential Memo entitled, Temporary

       Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing and

       Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects

       (Wind Memo).

  3. Section 2(a) of the Wind Memo directed several agencies, including DOI, to “not issue

       new or renewed approvals, rights of way, permits, leases, or loans for onshore or offshore

       wind projects pending the completion of a comprehensive assessment and review of

       Federal wind leasing and permitting practices.”

  4. I understand that it is the position of the United States that DOI’s temporary cessation of

       wind energy approvals and other authorizations pursuant to the directive in Section 2(a) of
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        the Wind Memo is not final agency action subject to challenge under the Administrative

        Procedure Act. This certification is provided without waiving any such argument.

   5. Despite the United States’ position, the Court has ordered DOI to provide an

        administrative record for DOI’s temporary cessation of wind energy approvals and other

        authorizations.

   6.    I hereby certify to the best of my knowledge, information, and belief that the attached

        documents constitute a true, correct, and complete copy of DOI’s administrative record

        that the Court ordered be produced and that no other documents constituting evidence

        considered, either directly or indirectly, by DOI exist.

   7. I also hereby certify that this administrative record is being provided on behalf of DOI,

        which includes the Agency Defendants the Bureau of Ocean Energy Management, the

        Bureau of Land Management, and the Fish and Wildlife Service.


Dated: July 11, 2025                           MATTHEW         Digitally signed by MATTHEW
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                                                Matthew N. Giacona
                                                Principal Deputy Director
                                                Bureau of Ocean Energy Management
                                                Department of the Interior




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